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                      UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE STEPHEN A. VADEN, JUDGE


 PRYSMIAN CABLES AND SYSTEMS,
 USA, LLC

                Plaintiff,

        - against -                                 Case No.   24-00101

 UNITED STATES

 and

 HOWARD LUTNICK, in his official capacity
 as Secretary of Commerce,

                Defendants.


        PLAINTIFF’S MOTION FOR JUDGMENT ON THE AGENCY RECORD

       Plaintiff Prysmian Cables and Systems, USA, LLC (“Prysmian”), by counsel and pursuant

to CIT Rule 56.1, submits this Motion for Judgment on the Agency Record.

       This Motion challenges the following actions and inactions of the Department of

Commerce (the “Department”):

       1.      The Department’s July 31, 2022 denial of Prysmian’s Exclusion Request (“ER”)

261115, which sought an exclusion from the Section 232 aluminum tariff for certain aluminum

rod procured internationally. (DN 42-1 at 3-4.)

       2.      The Department’s February 12, 2023 partial denial of Prysmian’s ER 261137,

which sought an exclusion from the Section 232 aluminum tariff for certain aluminum rod

procured internationally. (DN 42-1 at 86-87.)
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       3.         The Department’s refusal to add Prysmian’s importing agent, Concord Resources

Limited (“Concord”), as an authorized importer of record under the portion of ER 261137 the

Department granted, thus denying Prysmian the benefit of the exclusion. (DN 42-1 at 196-97.)

       4.         The Department’s decision to void ER 402427, which sought an exclusion from the

Section 232 steel tariff for certain steel coils procured internationally, via a generic “blast email”

without even purporting to evaluate Prysmian’s entitlement to the requested exclusion and without

issuing a mandatory decision memorandum “responsive” to the exclusion request. (DN 42-7 at 64-

66.)

       5.         The Department’s decision to void ER 291723, which sought an exclusion from the

Section 232 steel tariff for certain aluminum rod procured internationally, via a generic “blast

email” without even purporting to evaluate Prysmian’s entitlement to the requested exclusion and

without issuing a mandatory decision memorandum “responsive” to the exclusion request. (DN

42-7 at 64-66.)

       For reasons more fully set forth in the accompanying memorandum of law, Prysmian

hereby moves the Court to enter judgment on the agency record as follows:

       1.         Declaring that Prysmian is entitled to the requested exclusions from the Section 232

tariffs sought by ER 261115, ER 261137, ER 391723, and ER 402427 in accordance with

Proclamations 9704 and 9705 and 83 Fed. Reg. 46056;

       2.         Declaring that the Department’s denials of ER 261115, ER 261137, ER 391723,

and ER 402427 were arbitrary and capricious or otherwise unlawful in violation of the

Administrative Procedure Act (5 U.S.C. §§ 701 et seq.);




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       3.      Declaring that the Department’s refusal to grant Prysmian’s request to add Concord

as an authorized importer of record under ER 261137 was arbitrary and capricious or otherwise

unlawful in violation of the Administrative Procedure Act (5 U.S.C. §§ 701 et seq.);

       4.      Compelling the Secretary, on behalf of the Department, to satisfy his unambiguous

duty to add Concord as an authorized importer of record under ER 261137;

       5.      Compelling the Secretary, on behalf of the Department, to satisfy his unambiguous

duties to evaluate Prysmian’s satisfaction of the eligibility criteria for obtaining tariff exclusions

with respect to ER 391723 and ER 402427 and to issue a decision memorandum responsive to ER

391723 and ER 402427;

       6.      Alternatively, remanding the matter to the Department for proper treatment and

consideration, in accordance with the requirements of the Administrative Procedure Act; and

       7.      Awarding Prysmian such other relief as the Court deems just and proper.


Dated: June 5, 2025                                   Respectfully submitted,
Lexington, Kentucky
                                                      /s/Brad S. Keeton
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                                                      Cables and Systems, USA, LLC




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                                CERTIFICATE OF SERVICE

        I hereby certify that on June 5, 2025, the foregoing was electronically filed with the Clerk
of the Court using the CM/ECF system, which will send a notice of electronic filing to all counsel
of record:



                                                     /s/Brad S. Keeton
                                                     Counsel for Plaintiff Prysmian
                                                     Cables and Systems, USA, LLC




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                     UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE STEPHEN A. VADEN, JUDGE


PRYSMIAN CABLES AND SYSTEMS,
USA, LLC

               Plaintiff,

       - against -                              Case No.   24-00101

UNITED STATES

and

HOWARD LUTNICK, in his official capacity
as Secretary of Commerce,

               Defendants.


              PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF
               MOTION FOR JUDGMENT ON THE AGENCY RECORD
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        Plaintiff Prysmian Cables and Systems, USA, LLC (“Prysmian”), by counsel and pursuant

to CIT Rule 56.1, submits this Memorandum of Law in Support of its Motion for Judgment on the

Agency Record.

                                     PRELIMINARY STATEMENT

        In 2018, the Department of Commerce (the “Department”), acting pursuant to a

presidential directive, promulgated a rule to enable domestic businesses to import steel and

aluminum products without incurring tariffs the President had imposed on such products where

certain criteria are met. Specifically, the rule provides that the Department should grant tariff

exclusions requested by affected domestic companies where (1) the product at issue is not

produced in the U.S. in a sufficient quantity, (2) the product is not produced in the U.S. in a

satisfactory quality, or (3) national security considerations warrant granting the exclusion

notwithstanding the availability of domestic substitutes.

        In accordance with the Department’s rule, Prysmian1 submitted requests for exclusions

from the tariffs on certain aluminum and steel products it imported because domestic stock was

insufficient to meet Prysmian’s needs. Despite clear and unequivocal evidence demonstrating

Prysmian’s entitlement to the exclusions, the Department, through its actions and inactions, forced

Prysmian to pay substantial tariffs on the subject aluminum and steel products without refunds to

which Prysmian is entitled. Specifically, and as set forth in detail below, the Department:

                Improperly denied certain exclusion requests despite acknowledging the

                 unavailability of domestic substitutes based on national security concerns that it

                 lacked authority to consider and that were unsupported by the record.


1
 Certain of the exclusion requests at issue in this litigation were submitted by Prysmian’s former sister company,
General Cable Industries, Inc. (“General Cable”). General Cable merged into Prysmian on January 1, 2022, and
Prysmian is, therefore, the successor-in-interest to General Cable. For ease of review, this Memorandum uses the term
“Prysmian” to refer both to Prysmian and, where applicable, General Cable.


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              Improperly refused to add Prysmian’s importing agent as an authorized importer of

               record under a partially approved exclusion request without any legal basis for its

               decision and in contravention of its own guidance, thereby denying Prysmian the

               benefit of the exclusion.

              Improperly voided certain requests without even purporting to evaluate Prysmian’s

               entitlement to the requested exclusions and without issuing mandatory decision

               memoranda responsive to the requests.

       In short, the agency record confirms that, by flouting governing law and ignoring

uncontroverted evidence, the Department has taken actions that are “arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law” in violation of 5 U.S.C. § 706(2) and has

“unlawfully withheld or unreasonably delayed” agency action by refusing to satisfy its

unambiguous duties in violation of 5 U.S.C. § 706(1). Prysmian is, therefore, entitled to judgment

on the agency record.

                         STATEMENT PURSUANT TO RULE 56.1

I.     Administrative Determinations to be Reviewed

       Prysmian challenges the following actions and inactions of the Department:

       1.      The Department’s July 31, 2022 denial of Prysmian’s Exclusion Request (“ER”)

261115, which sought an exclusion from the Section 232 aluminum tariff for certain aluminum

rod procured internationally. (DN 42-1 at 3-4.)

       2.      The Department’s February 12, 2023 partial denial of Prysmian’s ER 261137,

which sought an exclusion from the Section 232 aluminum tariff for certain aluminum rod

procured internationally. (DN 42-1 at 86-87.)




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        3.        The Department’s refusal to add Prysmian’s importing agent, Concord Resources

Limited (“Concord”), as an authorized importer of record under the portion of ER 261137 the

Department granted, thus denying Prysmian the benefit of the exclusion. (DN 42-1 at 196-97.)

        4.        The Department’s decision to void ER 402427, which sought an exclusion from the

Section 232 steel tariff for certain steel coils procured internationally, via a generic “blast email”

without even purporting to evaluate Prysmian’s entitlement to the requested exclusion and without

issuing a mandatory decision memorandum “responsive” to the exclusion request. (DN 42-7 at 64-

66.)

        5.        The Department’s decision to void ER 291723, which sought an exclusion from the

Section 232 steel tariff for certain aluminum rod procured internationally, via a generic “blast

email” without even purporting to evaluate Prysmian’s entitlement to the requested exclusion and

without issuing a mandatory decision memorandum “responsive” to the exclusion request. (DN

42-7 at 64-66.)

II.     Issues Presented for Review

        1.        Whether the Department’s denials of ER 261115 in full and ER 261137 in part were

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law” in violation

of the Administrative Procedures Act (“APA”) 5 U.S.C. § 706(2) because (1) the Department

denied the requests on “national security” grounds even though applicable law permits the

Department to grant—not to deny—exclusion requests for national security reasons; (2) the

Department’s purported national security interest in “imposing economic costs on Russia . . . in

response to the invasion of Ukraine” through its denials lacked any factual basis, as the requests

were filed in November 2021 concerning procurements made before the Russian invasion of

Ukraine, and the denials imposed no economic costs on Russia because Prysmian had already

purchased the subject aluminum rod when the Department rendered its denials, and (3) the


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administrative record does not contain a single document supporting or even mentioning the

Department’s determinations that granting ER 261115 and 261137 would undermine national

security.

       2.        Whether the Department’s refusal to add Prysmian’s importing agent as an

authorized importer of record under partially approved ER 261137 was “arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law” in violation of 5 U.S.C. § 706(2)

because the Department’s refusal lacked any legal basis and contravened its own guidance.

       3.        Whether the Department has “unlawfully withheld or unreasonably delayed”

agency action within the meaning of 5 U.S.C. § 706(1) by refusing, and persisting in its refusal, to

satisfy its unambiguous duty to add Prysmian’s importing agent as an authorized importer of

record under partially granted ER 261137.

       4.        Whether the Department’s decision to void ER 402427 and ER 291723,

communicated through a generic “blast email” based on an indefensible and incorrect

interpretation of Presidential Proclamations 10895 and 10896 was “arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law” in violation of 5 U.S.C. § 706(2)(A).

       5.        Whether the Department has “unlawfully withheld or unreasonably delayed”

agency action within the meaning of 5 U.S.C. § 706(1) by refusing, and persisting in its refusal, to

satisfy its unambiguous duties to evaluate Prysmian’s satisfaction of the eligibility criteria for

obtaining the tariff exclusions sought through ER 402427 and ER 291723 and to issue a decision

memorandum responsive to those requests.

                                        BACKGROUND

I.     Parties

       Prysmian manufactures conductive cable providing essential conductive connectivity

critical to electrical power generation, transmission, and distribution in overhead, underground,


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and underwater applications in the United States. To manufacture conductive cable, Prysmian

requires a stable source of various specifications of aluminum rod and steel coils. Because

domestic production of said aluminum rod and steel coils is insufficient to meet its current

domestic production needs, Prysmian must procure significant quantities of the aluminum rod and

steel coils from various companies in other countries.

       The United States of America, acting by and through the Department, is a Defendant.

Defendant Howard Lutnick is the Secretary of Commerce and is responsible for the actions and

inactions of the Department.

II.    Statutory and Regulatory Background

       In March 2018, President Trump, acting pursuant to Section 232 of the Trade Expansion

Act of 1962 (19 U.S.C. § 1862), issued a proclamation imposing a ten percent (10%) tariff on most

aluminum imports based upon recommendations from the Secretary. See Adjusting Imports of

Aluminum Into the United States, Pres. Proc. No. 9704, 83 Fed. Reg. 11,619 (Mar. 8, 2018). On

the same day, President Trump issued another proclamation imposing a twenty-five percent (25%)

tariff on most steel imports. See Adjusting Imports of Steel Into the United States, Pres. Proc. No.

9705, 83 Fed. Reg. 11,625 (Mar. 8, 2018).

       The Proclamations recognized that these tariffs could have unintended consequences for

U.S. businesses that rely on imports of aluminum and steel products not otherwise immediately

available in the domestic market. The Proclamations, therefore, expressly directed the Department

of Commerce (the “Department”), through the Secretary of Commerce, to grant exclusions from

these new tariffs to U.S.-based businesses for imported aluminum and steel products that are not

immediately available in sufficient quality or quantity in the United States. 83 Fed. Reg. at 11621,

11,627. The President also directed the Secretary to grant exclusions from the tariffs imposed on

aluminum and steel products where warranted by “specific national security considerations.” Id.


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        On March 19, 2018, the Department, through the Bureau of Industry and Security (“BIS”),

issued an interim final rule setting forth the circumstances in which the Department would grant a

tariff exclusion to affected United States businesses. Following a notice and comment period, on

September 11, 2018, the Secretary supplemented the rules for tariff exclusion requests. See

Submissions of Exclusion Requests and Objections to Submitted Requests for Steel and

Aluminum, 83 Fed. Reg. 46026 (Sept. 11, 2018).

        The rule adopted by the Department (the “Rule”) sets forth the procedures for affected

parties to request tariff exclusions and provides that domestic producers may object if they are

capable of promptly providing the imported product in the United States. 83 Fed. Reg. 46056.2 As

required by the Proclamation, the rule establishes mandatory criteria the Department must apply

when determining whether to grant or deny exclusion requests. Specifically, the Rule requires the

Department to assess the following three criteria and grant an exclusion if any one of them is

satisfied: (1) the article described in the request “is not produced in the United States in a sufficient

and reasonably available amount,” (2) the article “is not produced in the United States in a

satisfactory quality,” or (3) “specific national security considerations” warrant granting the request

notwithstanding the availability of domestic substitutes. 83 Fed. Reg. 46058.3

        By its plain terms, the Rule authorizes the Department to grant tariff exclusions based on

national security considerations. Id. (emphasis added) (authorizing the Department “to make



2
  The Rule was originally codified at 15 C.F.R. pt. 705, supp. 1. Following its misinterpretation of Presidential
Proclamations 10895 and 10896 issued on February 10, 2025, however, the Department terminated the exclusion
request process and replaced the text of 15 C.F.R. pt. 705, supp. 1 with revised language. See 90 Fed. Reg. 18784 and
DN 42-7 at 62. These subsequent revisions do not retroactively affect the validity of the exclusion requests issued
when the Rule was in effect.
3
  Although the Department’s Bureau of Industry and Security (“BIS”) “is the lead agency deciding whether to grant
steel and aluminum tariff exclusion requests,” the International Trade Administration (“ITA”) is charged with
“analyzing requests and objections to evaluate whether there is domestic production available to meet the requestor's
product needs, as provided in the exclusion requests.” 83 Fed. Reg. 46027.



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determinations whether a particular exclusion request should be approved based on specific

national security considerations.”). The examples the Rule offers for how “national security

considerations” are to be applied confirm this point:

        For example, if the steel included in an exclusion request is needed by a U.S.
        defense contractor for making critical items for use in a military weapons platform
        for the U.S. Department of Defense, and the duty or quantitative limitation will
        prevent the military weapons platform from being produced, the exclusion will
        likely be granted. The U.S. Department of Commerce, in consultation with the other
        parts of the U.S. Government as warranted, can consider other impacts to U.S.
        national security that may result from not approving an exclusion, e.g., the
        unintended impacts that may occur in other downstream industries using steel, but
        in such cases the demonstrated concern with U.S. national security would need to
        be tangible and clearly explained and ultimately determined by the U.S.
        Government.

Id. (emphasis added). The Rule unambiguously does not authorize the Department to deny requests

for tariff exclusions based on national security considerations. See id.

        After the Department has applied the requisite criteria to the facts presented, the Rule

mandates that the Department must then prepare a decision memorandum “responsive” to the

exclusion request, any objections to the exclusion request, and any rebuttals or surrebuttals. 83

Fed. Reg. 46059. The Rule provides that the Department will provide CBP with information

identifying each approved exclusion request so that CBP can refund tariffs previously paid by the

successful exclusion requester. 83 Fed. Reg. 46060.

III.    Prysmian’s Exclusion Requests

        A.     The Department improperly denied ER 261115 in full and ER 261137 in part
               based on national security concerns it lacked authority to consider and that
               were unsupported by the record.

        On November 10, 2021, Prysmian filed a request for an exclusion from the Section 232

tariff for certain aluminum rod procured from Russia, ER 261115. (DN 42-1 at 10.) This exclusion

request was limited to 8030 aluminum rod with a specific diameter and tensile strength. (DN 42-1

at 14 and 18.) Also on November 10, 2021, Prysmian filed a request for an exclusion from the


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Section 232 tariff for certain aluminum rod procured from India, Bahrain, and Russia, ER 261137.

(DN 42-1 at 14.) This exclusion request was limited to 1350 aluminum rod with a specific diameter

and tensile strength. (DN 42-1 at 92-95.)

        Although two companies, Century Aluminum Company (“Century”) and Southwire

Company, LLC (“Southwire”), a direct competitor of Prysmian, objected to both requests claiming

they could supply Prysmian with suitable substitutes in sufficient quantities, Prysmian succeeded

in demonstrating that the objectors’ claims were baseless. With respect to ER 261115, ITA

determined that Century’s purported substitute product did “not meet any of the physical

specifications” and was “not a suitable substitute” and that Southwire’s “offering is neither a

suitable substitute nor an identical product.” (DN 42-1 at 6.) Similarly, with respect to ER 261137,

ITA likewise determined that, despite their claims to the contrary, neither Century nor Southwire

could provide suitable substitutes for the aluminum rod at issue. (DN 42-1 at 86.) ITA thus

recommended that both ER 261115 and ER 261137 be approved because the products referenced

in the requests were “not produced in the United States in a sufficient and reasonably available

amount or of a satisfactory quality.” (DN 42-1 at 5, 86.)

        In its decision memoranda denying ER 261115 in full and ER 261137 in part, the

Department did not contest ITA’s findings regarding the unavailability of domestic substitute

products. To the contrary, the Department accepted ITA’s findings. (DN 42-1 at 86 (“BIS accepts

ITA’s recommended findings as to the domestic availability of the product.”); see also DN 42-1

at 3 (noting that its denial of ER 261115 was rendered “notwithstanding any analysis of domestic

availability.”).)

        Despite recognizing that Prysmian was unable to secure domestic substitutes for the

aluminum products at issue in ER 261115 and ER 261137—the very reason the exclusion process




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was created—the Department nevertheless invoked “national security concerns” as grounds for

denying ER 261115 in full and ER 261137 in part. (DN 42-1 at 3 and 86-87.) Specifically, the

Department determined that the denials were warranted because ER 261115 and ER 261137 both

sought tariff exclusions for aluminum products imported from Russia, and the “United States has

a vital national interest in imposing economic costs on Russia and/or Belarus in response to the

invasion of Ukraine.”

       As noted above, neither the President’s Proclamation nor the Rule permit the Department

to deny an exclusion request on national security grounds. The Department, thus, exceeded its

delegated authority by doing just that. Further, the Department’s purported national security

concerns arising from Russia’s invasion of Ukraine lack any foundation in the record or common

sense, as the exclusion requests were filed in November 2021 concerning procurements made

before the invasion of Ukraine on February 24, 2022. The denials could not have imposed

economic costs on Russia because Prysmian had already purchased the subject aluminum rod when

the Department rendered its denials. It is, therefore, unsurprising that the administrative record

does not contain a single document supporting or even mentioning the Department’s

determinations that granting ER 261115 and 261137 would undermine national security.

       B.      The Department improperly refused to add Prysmian’s importing agent as an
               authorized importer of record under the partially approved portion of ER
               261137, thus denying Prysmian the benefit of the exclusion.

       As to the portion of ER 261137 that the Department granted, the Department has

improperly refused to permit Prysmian to add its importing agent, Concord Resources Limited

(“Concord”), as an authorized importer of record entitled to the benefit of the tariff exclusion. (DN

42-1 at 196-97.) Concord is a merchant that acts as an intermediary between suppliers and

manufacturers of commodities and the purchasers of those commodities, with a focus on non-

ferrous metals and associated minerals. Between February 12, 2023, and February 12, 2024, while


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the exclusion granted in connection with ER 261137 was in effect, Prysmian paid Concord to

acquire and supply to Prysmian the aluminum rod from India for which ER 261137 was partially

granted. DN 42-1 at 97.

       While ER 261137 identifies Prysmian as the importer of record, it also identifies Concord

as the supplier of the aluminum rod Prysmian intended to import from India. (DN 42-1 at 97.) On

April 2, 2024, Prysmian sent an email to the Department requesting that Concord be added as an

authorized importer of record under ER 261137 for imports acquired during the exclusion window.

(DN 42-1 at 192.) Such a request is authorized by the Department’s own publication, “232

Exclusion Process Frequently Asked Questions” (the “FAQs”), which contains the following

question and answer:

       Q. How can my company make changes in importer of record?

       A. If your company was granted an exclusion request, then you may make changes
       to the importer of record . . . . An additional IOR change means that the additional
       approved importer(s) would have full rights to use the exclusion in its entirety as
       the agent for the requester.

(DN 42-1 at 79.)

       The Department sent a response email to Prysmian on April 2, 2024, stating that it would

not add Concord as an importer of record to ER 261137 because the exclusion window had expired

on February 12, 2023. (DN 42-1 at 195.) In response to Prysmian’s subsequent and repeated

requests that the Department identify any legal authority authorizing the Department to refuse to

make changes to the importer of record as to imports acquired during an exclusion window simply

because the exclusion window had closed, the Department restated its refusal without offering any

legal justification. (DN 42-1 at 0196 –202.)

       Internal discussions between CBP and BIS provided in the administrative record confirm

the absence of any legal authority underpinning the Department’s refusal to add Concord as an



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authorized importer of record. For example, in its response to a request from CBP asking whether

“BIS ha[s] any language concerning IOR change request not being accepted on exclusions that

have expired,” BIS offers no legal authority but only a vague assertion that “Customs ultimately

could refer to [unidentified] guidance from BIS regarding the prospective (and not retroactive)

nature of IOR Changes.” (DN 42-1 at 207.)4 Yet, contrary to BIS’s response, the Department’s

own guidance recognizes that a change to the importer of record is a “non-substantive change”

that should be permitted even “after the exclusion request has been granted.” (DN 42-1 at 176.)

         As a result of the Department’s improper refusal to add Concord as an approved importer

of record under ER 261137, CBP has not issued Concord a refund of tariffs paid on aluminum rod

imported from India during the exclusion window as Prysmian’s agent, which refund would

ultimately be passed to Prysmian under the parties’ agreement. (DN 42-1 at 195.)

         C.       The Department improperly voided ER 402427 and ER 391723 via a generic
                  “blast email” without evaluating Prysmian’s entitlement to the requested
                  exclusions or issuing mandatory decision memoranda.

         On January 22, 2024, Prysmian filed a request for an exclusion from the Section 232 tariff

for certain steel coils procured from China. (DN 42-7 at 9 (ER 402427).) The exclusion request

was limited to electrolytically chromium-coated, cold-rolled, tin-free, laminated steel of a

particular thickness and tensile strength, free of welds or joints. (DN 42-7 at 14.) As set forth in

the exclusion request, this specialized steel product, which is essential to Prysmian’s production

of fiber optic and power cables, has not been produced in the United States in more than twenty

years. (DN 42-7 at 21.)

         On September 5, 2024, Prysmian filed a request for an exclusion from the Section 232

tariff for certain aluminum rod procured from India and Bahrain. This exclusion request was


4
 Similarly, an internal BIS checklist related to importer of record changes states that “[c]hanges to expired exclusions
can’t be processed” without reference to any legal basis for the assertion. (DN 42-1 at 187.)


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limited to 1350 aluminum rod with a specific diameter and tensile strength. (DN 42-2 at 10 (ER

391723).) As set forth in the exclusion request, this specialized aluminum product was not

available from domestic producers in sufficient quantities to meet Prysmian’s needs. (DN 42-2 at

14.)

        On February 11, 2025, the Department summarily voided ER 402427 and ER 391723 via

a generic email with the subject line, “Blast Email – Section 232 Exclusions Portal.” (DN 42-7 at

64-66.) The email stated as follows:

        Pursuant to Presidential Proclamation, Commerce is no longer processing Section
        232 Exclusion Requests effective 11:59 PM Eastern Time on February 10, 2025.
        Section 232 Exclusions that have already been granted will remain effective until
        their expiration date or until their excluded volume is exhausted, whichever occurs
        first. Pending Section 232 Exclusion Requests should be assumed void pending
        their rejection and/or denial by Commerce.

(DN 42-7 at 66.)

        Although the Department’s email failed to identify the referenced “Presidential

Proclamation,” documents included in the administrative record reveal that the Department relied

upon Presidential Proclamations 10895 and 10896, both of which were issued on February 10,

2025 and relate to imports of aluminum and steel, respectively. (DN 42-7 at 63.) Each

Proclamation states that it revokes the provisions of prior proclamations “authorizing the Secretary

to grant relief for certain products from the additional ad valorem duties or quantitative restrictions

set forth in the prior proclamations.” (Proclamation 10895 ¶ 6, published at 90 Fed. Reg. 9807;

Proclamation 10896 ¶ 7, published at 90 Fed. Reg. 9817.) Contrary to the Department’s

implementation of the Proclamations, however, neither Proclamation states that it should be

applied retroactively to void exclusion requests pending at the time of its enactment. (See id.) To

the contrary, each Proclamation makes clear that it applies prospectively by prohibiting the

Department from considering new exclusion requests on a going forward basis.



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       Proclamation 10895 states as follows:

       The Secretary shall not consider any new product exclusion requests [relating to
       imports of aluminum], or renew any such product exclusions in effect as of the date
       of this proclamation. Granted product exclusions shall remain effective until their
       expiration date or until excluded product volume is imported, whichever occurs
       first.

90 Fed. Reg. 9812. Proclamation 10896 similarly provides that “the Secretary shall not consider

any product exclusion requests or renew any product exclusion requests in effect” as of the date of

the Proclamations issuance; that “[g]ranted product exclusions shall remain effective until their

expiration date or until excluded product volume is imported, whichever occurs first;” and that

“following this proclamation, . . . imports of any steel article . . . will be available to U.S.

importers, provided that the additional ad valorem tariffs are paid.” (90 Fed. Reg. 9821 and 9825

(emphasis added).)

       An internal BIS memorandum provided in the administrative record establishes that,

despite its decision to void all pending exclusion requests, even BIS recognized that the

Proclamations, by their plain language, called for prospective application to new exclusion

requests. (DN 42-7 at 62 (“Presidential Proclamations 10895 and 10896 of February 10, 2025

direct that the Secretary shall not consider any new Section 232 Exclusion Requests . . . .”)

(emphasis added).) In short, Proclamations 10895 and 10896 provide no authority for the

Department’s decision to void Exclusion Requests 402427 and 391723 since those requests were

submitted prior to, and were pending at the time of, the Proclamations’ issuance. A contrary

interpretation would lead to absurd results where parties who filed equally meritorious exclusion

requests on the same date experience different outcomes based simply on the order in which the

Department chose to process their requests.

       The Department’s email voiding ER 402427 and ER 391723 did not even purport to

consider whether the requests satisfy the eligibility criteria established by the Rule. Nor did the


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Department’s post hoc decision memoranda issued on March 11, 2025—after the Department had

already voided the requests—cure the February 11, 2025 blast email’s legal defects, since they

explicitly state that they, too, were rendered “without any determination on the merits of the

specific exclusion request or its associated record in the Section 232 Exclusions Process.” (DN 42-

2 at 3; DN 42-7 at 2.) In other words, the Department, by its own admission, never rendered a

decision on the merits of either ER 402427 or ER 391723.

                                    LEGAL FRAMEWORK

       The APA provides that a Court shall set aside a challenged agency action if it is found to

be “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.

§ 706(2)(A). While “a court is not to substitute its judgment for that of the agency” when

conducting such a review, “courts retain a role, and an important one, in ensuring that agencies

have engaged in reasoned decisionmaking." Judulang v. Holder, 565 U.S. 42, 53 (2011). The Court

should “assess . . . whether the decision was based on a consideration of the relevant factors and

whether there has been a clear error of judgment." Id. (quotations and citations omitted). “That

task involves examining the reasons for the agency decisions - or, as the case may be, the absence

of such reasons.” Id.

       The Supreme Court has instructed that agency action is arbitrary and capricious if:

       the agency has relied on factors which Congress has not intended it to consider,
       entirely failed to consider an important aspect of the problem, offered an
       explanation for its decision that runs counter to the evidence before the agency, or
       is so implausible that it could not be ascribed to a difference in view or the product
       of agency expertise.


       Motor Vehicle Mfrs. Ass'n of US., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43

(1983). “Agency action based on a factual premise that is flatly contradicted by the agency’s own

record does not constitute reasoned administrative decisionmaking, and cannot survive review



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under the arbitrary and capricious standard." City of Kansas City, Mo. v. Dep’t of Hous. & Urban

Dev., 923 F.2d 188, 194 (D.C. Cir. 1991).

       Critically, in order for there to be meaningful judicial review, the agency must, in the first

instance, “not only have reached a sound decision, but have articulated the reasons for that

decision.” In re Sang Su Lee, 277 F.3d 1338, 1342 (Fed. Cir. 2002). In other words, the agency

“must examine the relevant data and articulate a satisfactory explanation for its action including a

‘rational connection between the facts found and the choice made.’” Motor Vehicle Mfrs. Ass’n.,

463 U.S. at 43 (quoting Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962)).

       Additionally, the APA requires a reviewing court to “compel agency action unlawfully

withheld or unreasonably delayed” where the plaintiff identifies a discrete agency action that the

agency was legally required to undertake but failed to perform. 5 U.S.C. § 706(1). Norton v.

Southern Utah Wilderness Alliance, 542 U.S. 55, 64 (2004) (“SUWA”). In other words, where the

agency has a “legal duty” that is “ministerial or nondiscretionary” and amounts to “a specific,

unequivocal command,” its failure to execute that legal duty should be remedied by an order

compelling such action under § 706(1). Id. at 63–64.

                                          ARGUMENT

I.     The Department’s denials of ER 261115 in full and ER 261137 in part based on invalid
       and unauthorized national security considerations were “arbitrary, capricious, an
       abuse of discretion, or otherwise not in accordance with law.”

       This Court should hold unlawful and set aside the Department’s denials of ER 261115 in

full and ER 261137 for the following reasons:

       First, the Department violated Proclamation 9704 and its own Rule by denying the

exclusion requests based on national security concerns. As discussed above, Proclamation 9704

and the Rule authorize the Department to grant tariff exclusions based on national security

considerations. 83 Fed. Reg. 11619, 46058 (emphasis added) (authorizing the Department “to


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make determinations whether a particular exclusion request should be approved based on specific

national security considerations.”). The Proclamation and the Rule unambiguously do not

authorize the Department to deny requests for tariff exclusions based on national security

considerations. See id. Having determined that Prysmian could not secure domestic substitutes for

the aluminum products at issue in ER 261115 and ER 261137, the Department was obligated under

the Rule to grant these exclusion requests. Id.

       The Department nevertheless denied both ER 261115 and ER 261138 purely on national

security grounds. In doing so, the Department exceeded its delegated authority and violated both

Proclamation 9704 and its own Rule, rendering the denials legally unsustainable. Way of Life

Television Network, Inc. v. FCC., 593 F.2d 1356, 1359 (D.C. Cir. 1979) (“It is a well-settled rule

that an agency’s failure to follow its own regulations is fatal to the deviant action.”); Policy &

Research, LLC v. United States Dep’t of Health & Human Servs., 313 F. Supp. 3d 62, 83 (D.D.C.

2018) (“Under the most elementary precepts of administrative law, an agency . . . cannot undertake

to act in a manner that is contrary to its own regulations.”).

       Second, the Department’s expressed national security concerns arising from Russia’s

invasion of Ukraine lack any foundation in the record or common sense, as the exclusion requests

were filed in November 2021 concerning procurements made before the invasion of Ukraine, and

the denials imposed no economic costs on Russia because Prysmian had already purchased the

subject aluminum rod when the Department rendered its denials. Indeed, apart from the passing

references to national security in the decision memoranda themselves, the administrative record is

devoid of even a single document supporting or even mentioning the Department’s determinations

that granting ER 261115 and 261137 would undermine national security.




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       Thus, even if the Department had authority to deny exclusion requests based on national

security considerations (it does not), the denials should still be set aside. Motor Vehicle Mfrs.

Ass’n, 463 U.S.at 43 (agency decisionmaking is arbitrary and capricious where the agency “offered

an explanation for its decision that runs counter to the evidence before the agency.”); Mizerak v.

Adams, 682 F.2d 374, 376 (2d Cir. 1982) (“[A]n agency decision is arbitrary and must be set aside

when it rests on a crucial factual premise shown by the agency’s records to be indisputably

incorrect.”); In re Sang Su Lee, 277 F.3d at 1346 (“Sound administrative procedure requires that

the agency . . . present its reasoning in sufficient detail that the court may conduct meaningful

review of the agency action.”).

II.    The Department’s improper refusal to add Concord as an authorized importer of
       record under partially approved ER 261137 should be set aside as unlawful, and the
       Secretary should be compelled to perform his unambiguous duty to add Concord to
       the granted exclusion.

       The Department refused to add Concord as an authorized importer of record as to

aluminum products it acquired on Prysmian’s behalf when partially granted ER 261137 was in

effect because the exclusion window was closed when the request to add Concord was made. But

no legal authority supports the Department’s determination that the expiration of an exclusion

window precludes the addition of an importer of record as to purchases made while the exclusion

window was open. On the contrary, the Department’s own guidance recognizes that a change to

the importer of record is a “non-substantive change” that should be permitted even “after the

exclusion request has been granted.” (DN 42-1 at 176.)

       In response to Prysmian’s repeated requests that the Department identify any legal

authority justifying its refusal, the Department simply restated its conclusion that “BIS does not

accept retrospective changes to the Importer(s) of Record associated with expired Exclusion

Requests” without offering any legal justification. (DN 42-1 at 0196 –202.) The Department



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similarly could not identify any legal basis for its refusal to add Concord as an importer of record

in response to pointed questions from CBP that it do so.

        Because the Department’s decision rests on nothing more than its “because-I-said-so”

rationale, this Court should hold unlawful and set aside the Department’s refusal to add Concord

as an importer of record under partially approved ER 261137. In re Sang Su Lee, 277 F.3d at 1344

(“For judicial review to be meaningfully achieved . . . the agency tribunal must present a full and

reasoned explanation of its decision.”); Ultratec, Inc. v. CaptionCall, LLC, 872 F.3d 1267, 1274

(Fed. Cir. 2017) (a court “cannot affirm agency decision-making where the agency fails to provide

a reasoned basis for its decision”).

        Moreover, because Prysmian’s request was proper and authorized by the Department’s

own FAQs, which recognize that a change to the importer of record is a ministerial change that

should be permitted even after an exclusion request has been granted, this Court should order the

Secretary, on behalf of the Department, to satisfy his unambiguous duty to add Concord as an

authorized importer of record under ER 261137. SUWA, 542 U.S. at 63-64 (stating that courts

should compel agencies to perform “ministerial or nondiscretionary” acts they have failed to

undertake despite being “legally required” pursuant to 5 U.S.C. § 706(1)).

III.    The Court should set aside as unlawful the Department’s decision to void ER 402427
        and ER 391723 and should compel the Secretary to perform his unambiguous duties
        to evaluate Prysmian’s entitlement to the requested exclusions and issue reasoned
        decision memoranda.

        As noted above, the Department voided both ER 402427 and ER 391723 and

communicated that to Prysmian through generic “blast emails” without even claiming to have

considered whether the requests satisfy the eligibility criteria established by the Rule and without

issuing mandatory decision memoranda “responsive” to the requests. The Department predicated

its decision to void the exclusion requests on Presidential Proclamations 10895 and 10896, issued



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on February 10, 2025. Neither proclamation, however, grants the Department authority to void an

exclusion request pending when the proclamation was issued.

       Each Proclamation states that it revokes the provisions of prior proclamations “authorizing

the Secretary to grant relief for certain products from the additional ad valorem duties or

quantitative restrictions set forth in the prior proclamations.” 90 Fed. Reg. 9813 and 9825. Yet

each Proclamation also makes clear that it applies prospectively by prohibiting the Department

from considering new exclusion requests on a going-forward basis. See 90 Fed. Reg. 9812 (“The

Secretary shall not consider any new product exclusion requests . . . .”).

       Proclamations 10895 and 10896 thus provide no authority for the Department’s decision

to void ER 402427 and ER 391723 because those requests were submitted prior to, and were

pending at the time of, the Proclamations’ issuance. As such, the Court should set aside and hold

unlawful the Department’s decision. Solenex, LLC v. Haaland, 626 F. Supp. 3d 110, 126 (D.D.C.

2022) (an agency decision that “was predicated on an incorrect interpretation of the law . . . must

be set aside” pursuant to 5 U.S.C. 706(2)).

       For these same reasons, the Department has no justification for its refusal to satisfy its

unambiguous duties to evaluate whether ER 402427 and ER 391723 satisfy the eligibility criteria

established by the Rule for obtaining tariff exclusions and to issue mandatory decision memoranda

responsive to the requests. This Court should therefore compel the Secretary to perform these

“nondiscretionary” acts he is “legally required” to undertake. 5 U.S.C. § 706(1); SUWA, 542 U.S.

at 63-64.




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                                          CONCLUSION

       For the foregoing reasons, Prysmian respectfully requests that this Court enter judgment as

follows:

       1.      Declaring that Prysmian is entitled to the requested exclusions from the Section 232

tariffs sought by ER 261115, ER 261137, ER 391723, and ER 402427 in accordance with

Proclamations 9704 and 9705 and 83 Fed. Reg. 46056;

       2.      Declaring that the Department’s denials of ER 261115, ER 261137, ER 391723,

and ER 402427 were arbitrary and capricious or otherwise unlawful in violation of the

Administrative Procedure Act (5 U.S.C. §§ 701 et seq.);

       3.      Declaring that the Department’s refusal to grant Prysmian’s request to add Concord

as an authorized importer of record under ER 261137 was arbitrary and capricious or otherwise

unlawful in violation of the Administrative Procedure Act (5 U.S.C. §§ 701 et seq.);

       4.      Compelling the Secretary, on behalf of the Department, to satisfy his unambiguous

duty to add Concord as an authorized importer of record under ER 261137;

       5.      Compelling the Secretary, on behalf of the Department, to satisfy his unambiguous

duties to evaluate Prysmian’s satisfaction of the eligibility criteria for obtaining tariff exclusions

with respect to ER 391723 and ER 402427 and to issue a decision memorandum responsive to ER

391723 and ER 402427;

       6.      Alternatively, remanding the matter to the Department for proper treatment and

consideration, in accordance with the requirements of the Administrative Procedure Act; and

       7.      Awarding Prysmian such other relief as the Court deems just and proper.




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Dated: June 5, 2025                                  Respectfully submitted,
Lexington, Kentucky
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                                                     Cables and Systems, USA, LLC




                             CERTIFICATE OF COMPLIANCE

       Pursuant to Chambers Procedure 2(B), the undersigned certifies that Plaintiff’s
Memorandum of Law in Support of Motion for Judgment on the Agency Record, filed on June 5,
2025, complies with the word limitation requirement. The word count for Plaintiff’s Memorandum
of Law, as computed by undersigned counsel’s word processing system, is approximately 6,910
words.

                                                     /s/Brad S. Keeton
                                                     Counsel for Plaintiff Prysmian
                                                     Cables and Systems, USA, LLC



                                CERTIFICATE OF SERVICE

        I hereby certify that on June 5, 2025, the foregoing was electronically filed with the Clerk
of the Court using the CM/ECF system, which will send a notice of electronic filing to all counsel
of record:



                                                     /s/Brad S. Keeton
                                                     Counsel for Plaintiff Prysmian
                                                     Cables and Systems, USA, LLC




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                       UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE STEPHEN A. VADEN, JUDGE


 PRYSMIAN CABLES AND SYSTEMS,
 USA, LLC

                 Plaintiff,

         - against -                                    Case No.    24-00101

 UNITED STATES

 and

 HOWARD LUTNICK, in his official capacity
 as Secretary of Commerce,

                 Defendants.


                                     [PROPOSED] ORDER

        Upon consideration of Plaintiff’s Motion for Judgment on the Agency Record, and all other

papers and proceedings herein; it is hereby ORDERED that Plaintiff’s Motion be, and hereby is,

GRANTED; and it is further ORDERED that:

        1.      Prysmian is entitled to the requested exclusions from the Section 232 tariffs sought

by ER 261115, ER 261137, ER 391723, and ER 402427 in accordance with Proclamations 9704

and 9705 and 83 Fed. Reg. 46056;

        2.      The Department’s denials of ER 261115, ER 261137, ER 391723, and ER 402427

were arbitrary and capricious or otherwise unlawful in violation of the Administrative Procedure

Act (5 U.S.C. §§ 701 et seq.);

        3.      The Department’s refusal to grant Prysmian’s request to add Concord as an

authorized importer of record under ER 261137 was arbitrary and capricious or otherwise unlawful

in violation of the Administrative Procedure Act (5 U.S.C. §§ 701 et seq.);


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       4.     The Secretary, on behalf of the Department, shall satisfy his unambiguous duty to

add Concord as an authorized importer of record under ER 261137;

       5.     The Secretary, on behalf of the Department, shall satisfy his unambiguous duties to

evaluate Prysmian’s satisfaction of the eligibility criteria for obtaining tariff exclusions with

respect to ER 391723 and ER 402427 and to issue a decision memorandum responsive to ER

391723 and ER 402427;

       6.     Alternatively, ER 261115, ER 261137, ER 391723, and ER 402427 are hereby

remanded to the Department for proper treatment and consideration, in accordance with the

requirements of the Administrative Procedure Act.




                                                    ___________________________________
                                                    Judge
                                                    United States Court of International Trade




Dated: ________________________
       New York, N.Y.




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Tendered by:

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